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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-04831-SVW-RAO                                          Date      July 28, 2021
 Title             KIERZEK v. MAYORKAS et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER MOVING CASE TO THE INACTIVE
                              CALENDAR


        Regarding the motion to dismiss, the Court has reviewed the briefing and supporting materials,
including the Batura Declaration. See Dkts. 19, 20, 21; see also Safe Air for Everyone v. Meyer, 373
F.3d 1035, 1039 (9th Cir. 2004) (in resolving factual attack on jurisdiction district court may review
evidence beyond complaint without converting motion to dismiss into motion for summary judgment).
In light of that review, the Court concludes that the I-765 and I-131 applications are dependent upon
adjudication of the I-485 application for which statutory authorization has lapsed. Accordingly, the case
is hereby stayed pending re-authorization of the I-485 program. The parties are ORDERED to file a
status report requesting that the stay be lifted once Congress re-authorizes the I-485 program.




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                                                               Initials of Preparer              PMC
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